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                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                    WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                  4:11-CR-00007-03-BRW

CHAD UMFLEET

                                            ORDER

       In Defendant’s Pending Motion for a Reduction in Sentence (Doc. No. 94), Defendant

requests that the Court correct his sentence under Federal Rule of Criminal Procedure 35 because

the written judgment and the judgment announced at sentencing are in conflict. According to

Defendant, “the Court has expressed its wishes for a concurrent sentence” and “the time [he

spent] in pretrial custody was credited to him at sentencing as time served.”1 I have reviewed the

hearing transcript and find no merit to Defendant’s argument. Accordingly, the motion is

DENIED.

       IT IS SO ORDERED this 7th day of November, 2013.



                                                 /s/Billy Roy Wilson
                                           UNITED STATES DISTRICT JUDGE




       1
           Doc. No. 94.
